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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       PAUL SOMERS,                                        Case No. 14-cv-05180-EMC (KAW)
                                   8                     Plaintiff,
                                                                                               ORDER DENYING MOTION TO
                                   9              v.                                           STRIKE
                                  10       DIGITAL REALTY TRUST INC, et al.,                   Re: Dkt. No. 280
                                  11                     Defendants.

                                  12
Northern District of California
 United States District Court




                                  13            On February 27, 2018, Defendants Digital Realty Trust Inc.'s and Ellen Jacobs's lead
                                  14   counsel filed a notice of unavailability. (Dkt. No. 279.) The notice of unavailability was
                                  15   withdrawn that same day. (Id.) On February 28, 2018, Plaintiff Paul Somers filed a motion to
                                  16   strike the notice of unavailability.1 (Dkt. No. 280.) On March 1, 2018, Defendants filed an
                                  17   opposition to Plaintiff's motion, stating that the notice of unavailability was inadvertently filed and
                                  18   had already been retracted. (Dkt. No. 281 at 1.) Because the notice of unavailability was
                                  19   withdrawn prior to Plaintiff's filing of his motion, Plaintiff's motion to strike is DENIED as moot.
                                  20            In Plaintiff's motion, Plaintiff also appears to state that he "has fulfilled his obligations to
                                  21   meet and confer and will file the motion for sanctions." (Dkt. No. 280 at 2.) The Court has
                                  22   insufficient information to determine whether the meet and confer obligation was in fact met. The
                                  23   Court does, however, remind the parties of their obligation to meet and confer in good faith.
                                  24   Further, the Court has warned the parties that they are not to file any further discovery-related
                                  25   letters or requests except as related to the production ordered in the July 11, 2017 order. (Dkt. No.
                                  26
                                  27   1
                                        Although Plaintiff filed the instant motion before the presiding judge, the motion is related to a
                                  28   discovery dispute, and has thus been referred to the undersigned for resolution. (See Dkt. No.
                                       282.)
                                         Case 3:14-cv-05180-EMC Document 283 Filed 03/06/18 Page 2 of 2




                                   1   266 at 1-2.) To the extent Plaintiff's motion for sanctions is related to a discovery dispute that

                                   2   could have been raised by Plaintiff in the letter that was to be filed on March 14, 2017 and/or the

                                   3   letter filed on April 29, 2017, but was not, those discovery disputes have been deemed waived.

                                   4   (Dkt. No. 245 at 2, 13, 17, 20; see also Dkt. Nos. 191, 212, 218, 221, 238, 266.)

                                   5          IT IS SO ORDERED.

                                   6   Dated: March 6, 2018
                                                                                             __________________________________
                                   7                                                         KANDIS A. WESTMORE
                                   8                                                         United States Magistrate Judge

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Northern District of California
 United States District Court




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